                    2:21-cv-02293-CSB-EIL            # 11-3      Filed: 08/11/22       Page 1 of 1
                                                                                                                  E-FILED
                                                                                 Thursday, 11 August, 2022 11:27:12 AM
George Vargas                                                                              Clerk, U.S. District Court, ILCD

From:                             George Vargas
Sent:                             Monday, May 31, 2021 11 :59 AM
To:                               Morgan, Tim (OGC)
Subject:                          Dr. Peterson Board
Attachments:                      VA Termination Response 05_31_2021.pdf


Tim:

Hope this e-mail finds you well. While Dr. Peterson is expected to testify, here is a rebuttal to the Agency's review and
findings which I intend to submit to the Board on Wednesday. I am disclosing this to you in advance so that there is no
issue with not having seen this beforehand. It is a merely a case by case rebuttal to each individual patient where the VA
claims that Dr. Peterson did not meet the appropriate standard of care.

Also, can you please advise what building we are to meet in? I understand that in order to get into the building we will
need to go through the police department on campus. Thanks.


Respectfu I ly,




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                                                  Exhibit 3 1
